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 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                    )    CASE NO.:     1:10-cr-00249 AWI
11                                                 )
                                                   )    STIPULATION AND
12                        Plaintiff,               )    PROTECTIVE ORDER BETWEEN THE
                                                   )    UNITED STATES AND DEFENDANT
13                                                 )    DARLING ARLETTE MONTALVO
                    v.                             )
14                                                 )
                                                   )
15    ERIC RAY HERNANDEZ,                          )
      MONICA MARIE HERNANDEZ, aka                  )
16    Monica Marie Duarte,                         )
      EVELYN BRIGGET SANCHEZ,                      )
17    PATRICIA ANN KING, and                       )
      DARLING ARLETTE MONTALVO,                    )
18                                                 )
                          Defendants.              )
19                                                 )
20
21
22          WHEREAS, the discovery in this case is voluminous and contains a
23   large amount of personal information including but not limited to
24   Social Security numbers, dates of birth, driver’s license numbers,
25   bank account numbers, telephone numbers, and residential addresses
26   (“Protected Information”); and
27          WHEREAS, the parties desire to avoid both the necessity of large
28   scale redactions and the unauthorized disclosure or dissemination of
     _____________________________________________________________________________________________

                                   Stipulation and Protective Order
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 1   this information to anyone not a party to the court proceedings in
 2   this matter;
 3          The parties agree that entry of a stipulated protective order is
 4   appropriate.
 5          THEREFORE, defendant DARLING ARLETTE MONTALVO, by and through
 6   her counsel of record (“Defense Counsel”), and plaintiff the United
 7   States of America, by and through its counsel of record, hereby agree
 8   and stipulate as follows:
 9          1.     This Court may enter protective orders pursuant to Rule
10   16(d) of the Federal Rules of Criminal Procedure, and its general
11   supervisory authority.
12          2.     This Order pertains to all discovery provided to or made
13   available to Defense Counsel as part of the discovery in this case
14   (hereafter, collectively known as the “discovery”).
15          3.     By signing this Stipulation and Protective Order, Defense
16   Counsel agrees not to share any documents that contain Protected
17   Information with anyone other than Defense Counsel and designated
18   defense investigators and support staff.                Defense Counsel
19   may permit the defendant to view unredacted documents in the
20   presence of her attorney, defense investigators and support staff.
21   The parties agree that Defense Counsel, defense investigators, and
22   support staff shall not allow the defendant to copy Protected
23   Information contained in the discovery.                The parties agree that
24   Defense Counsel, defense investigators, and support staff may provide
25   the defendant with copies of documents from which Protected
26   Information has been redacted.
27          4.     The discovery and information therein may be used only in
28   connection with the litigation of this case and for no other purpose.
     _____________________________________________________________________________________________

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 1   The discovery is now and will forever remain the property of the
 2   United States Government.           Defense Counsel will return the discovery
 3   to the Government or certify that it has been shredded at the
 4   conclusion of the case.
 5          5.     Defense Counsel will store the discovery in a secure place
 6   and will use reasonable care to ensure that it is not disclosed to
 7   third persons in violation of this agreement.
 8          6.     Defense Counsel shall be responsible for advising the
 9   defendant, employees, other members of the defense team, and defense
10   witnesses of the contents of this Stipulation and Order.
11          7.     In the event that the defendant substitutes counsel,
12   undersigned Defense Counsel agrees to withhold discovery from new
13   counsel unless and until substituted counsel agrees also to be bound
14   by this Order.
15          IT IS SO STIPULATED.
16   DATED:      Nov. 23, 2010               By:       /s/ Eric V. Kersten
                                                       (as authorized on 11/23/10)
17                                                     ERIC V. KERSTEN
                                                       Attorney for defendant
18                                                     DARLING ARLETTE MONTALVO
19
     DATED:      Nov. 23, 2010                         BENJAMIN B. WAGNER
20                                                     United States Attorney
21                                             By: /s/ Kirk E. Sherriff
                                                   KIRK E. SHERRIFF
22                                                 Assistant U.S. Attorney
23
24                                              ORDER
25   IT IS SO ORDERED.
26
     Dated:          November 29, 2010
27   0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
28
     _____________________________________________________________________________________________

                                   Stipulation and Protective Order

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